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Attorneys for Plaintiff



                  UNITED STATES DISTRICT COURT

                          DISTRICT OF OREGON

                          PORTLAND DIVISION



DIANE DILLARD                          Case No. 3:21-cv-1514

                    Plaintiff          PRODUCTS LIABILITY

      vs                               28 U.S.C. § 1332

CURALEAF, INC.                         Demand for Jury Trial

                    Defendant




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                                      1.

                JURISDICTION AND THE PARTIES

       This Court has jurisdiction under 28 U.S.C. § 1332 because the

amount in controversy requirement is satisfied and the parties are

citizens of different states.

                                      2.

       Plaintiff is a citizen of the state of Oregon.

                                      3.

       Defendant is a citizen of the state of Delaware.

                                      4.

       Venue is proper in the state of Oregon under 28 U.S.C. § 1391

because a substantial part of the events or omissions giving rise to

plaintiff’s claim occurred in Oregon and defendant is registered to do

business in Oregon with the Oregon Secretary of State Corporate

Division and defendant maintains a registered agent in Oregon and

defendant regularly supplies, distributes, markets, and sells its Select

CBD Drops in Oregon in the course of its business.




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                                      5.

                     FACTUAL ALLEGATIONS

      On or around August 2, 2021 in St. Helens, Oregon, plaintiff

consumed    Select   CBD    Drops      that   were   designed,   produced,

manufactured, labeled, supplied, inspected, tested, distributed,

marketed, advertised, and sold by defendant.

                                      6.

      Defendant labeled, marketed, advertised and sold the Select

CBD Drops consumed by plaintiff as containing cannabidiol (CBD),

which does not produce intoxicating effects.

                                      7.

      In reality, the Select CBD Drops consumed by plaintiff contained

tetrahydrocannabinol (THC), a psychoactive compound in cannabis

that produces intoxicating effects.

                                      8.

      In Oregon, drops containing THC are not permitted to be sold to

consumers without a warning label.

                                      9.

      THC is not fit for unintentional human consumption, as it can

impair a person’s ability to drive a motor vehicle and cause unwanted

anxiety, panic, and acute psychosis.




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                                   10.

                       CLAIM FOR RELIEF

                       – Products Liability –

      As alleged in this complaint, defendant was negligent by creating

its tainted Select CBD Drops product which contained THC, which was

a foreign object and not permitted to be sold to consumers without a

warning label and not fit for unintentional human consumption.

Defendant designed, produced, manufactured, labeled, supplied,

inspected, tested, distributed, marketed, and advertised the tainted

CBD Drops product which plaintiff ingested, not knowing that

defendant’s CBD Drops product actually contained THC. Defendant

was negligent by failing to exercise quality control standards of its

products which would have detected THC inside its Select CBD Drops.

Defendant was negligent by offering a tainted product which contained

a dangerous foreign object which was likely to cause harm and

unwanted health consequences when unintentionally consumed.

Defendant promotes the quality and safety of its products. Yet, none of

defendant’s Select CBD Drops advertisements or packaging contain

labels warning consumers that Select CBD Drops may be contaminated

and tainted with foreign objects like THC that is not permitted to be

sold to consumers without a warning label and not fit for unintentional

human consumption.



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                                     11.

      Defendant was negligent by not using reasonable care and for

failing to warn or instruct plaintiff about the condition of its Select CBD

Drops. Due to defendant’s negligence, plaintiff, a 79-year-old woman,

was taken by ambulance to the hospital. There was no room in the

hospital due to the pandemic, so plaintiff had to lay in the hallway all

night. Due to defendant’s negligence, plaintiff experienced harm

including the belief she was going to die, unwanted disorientation

causing her to fall from her wheelchair, psychosis, discomfort, and

distress, and interference with life activities. Accordingly, plaintiff

respectfully requests judgment against defendant for economic and

non-economic damages in amounts determined by the jury to be fair

and reasonable. Defendant’s acts and omissions as alleged in this

complaint showed a reckless and outrageous indifference to a highly

unreasonable risk of harm and defendant acted with a conscious

indifference to the health, safety and welfare of others. As a result,

plaintiff also seeks punitive damages in an amount to be determined by

the jury not to exceed 1% of defendant’s net worth.

                                     12.

      Request for jury trial.




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                                   13.

                        PRAYER FOR RELIEF

      Plaintiff seeks relief against defendant as sought above, and for

maximum interest, taxable costs, and for any other relief the Court may

determine is fair and proper. Plaintiff retains the right to amend this

complaint to include new parties and new claims as new information is

learned in discovery.


October 16, 2021

                                RESPECTFULLY FILED,

                                s/ Michael Fuller
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